Case 3:24-cv-07704-JD   Document 17-3   Filed 02/03/25   Page 1 of 5




                 Exhibit 1
                    Case 3:24-cv-07704-JD                       Document 17-3           Filed 02/03/25           Page 2 of 5
AO 440 (Re . 06/12) S mmons in a Ci il Action (Page 2)

Ci il Action No. 3:24-c -07704

                                                               PROOF OF SERVICE
                          (Th    ec       h    d         be f ed h he c     e e                ed b Fed. R. C . P. 4 ( ))

       This s mmons for (name of indi id al and i le, if an ) Brian Vel -Nepom ceno as recei ed b me on (da e)
11/08/2024.

                 I personall ser ed the s mmons on the indi id al at (place)                                        on (da e)
                                          ; or
          X      I left the s mmons at the indi id al s residence or s al place of abode ith (name) "John Doe" ho ref sed to gi e
                 name , a person of s itable age and discretion ho resides there, on (da e) T e, No 19 2024 , and mailed a cop to
                 the indi id al s last kno n address; or
                 I ser ed the s mmons on (name of indi id al)                                      , ho is designated b la to accept ser ice
                 of process on behalf of (name of organi a ion)                                     on (da e)                      ; or
                 I ret rned the s mmons ne ec ted beca se:                                       ; or
                 Other:                                  ; or

        M fees are $                                     for tra el and $                           for ser ices, for a total of $ $0.00.

        I declare nder penalt of perj r that this information is tr e.


Date: 12//5/2024



                                                                                                    Ser er's signa re
                                                                            Mahesh Bhagat
                                                                                                  Prin ed name and i le


                                                                            507 Polk St S ite 320,, San Francisco, CA 94102
                                                                                                        Ser er's address

Additional information regarding attempted ser ice, etc.:
1) Attempt: No 19, 2024, 8:44 pm EST at 1031 Cherr A en e Unit 44, San Br no, CA 94066 recei ed b "John Doe" ho
ref sed to gi e name. Age: 56; Ethnicit : Filipino; Gender: Male; Weight: 150; Height: 5'5"; Hair: Black;
Relationship: Father in La of Brian Vel -Nepom ceno;
                    Case 3:24-cv-07704-JD                       Document 17-3           Filed 02/03/25           Page 3 of 5
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 3:24-cv-07704

                                                          PROOF OF SERVICE
                          (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

        This summons for (name of individual and title, if any) Percival Ong was received by me on (date) 11/08/2024.

                 I personally served the summons on the individual at (place)                                       on (date)
                                          ; or
          X      I left the summons at the individual’s residence or usual place of abode with (name) "John Doe" who refused to give
                 name , a person of suitable age and discretion who resides there, on (date) Tue, Nov 19 2024 , and mailed a copy to
                 the individual’s last known address; or
                 I served the summons on (name of individual)                                      , who is designated by law to accept service
                 of process on behalf of (name of organization)                                     on (date)                         ; or
                 I returned the summons unexecuted because:                                      ; or
                 Other:                                  ; or

        My fees are $                                    for travel and $                           for services, for a total of $ $0.00.

        I declare under penalty of perjury that this information is true.


Date: 12/5/2024



                                                                                                    Server's signature
                                                                            Mahesh Bhagat
                                                                                                 Printed name and title


                                                                            507 Polk St Suite 320,, San Francisco, CA 94102
                                                                                                        Server's address

Additional information regarding attempted service, etc.:
1) Attempt: Nov 19, 2024, 8:44 pm EST at 1031 Cherry Avenue Unit 44, San Bruno, CA 94066 received by "John Doe" who
refused to give name. Age: 56; Ethnicity: Filipino; Gender: Male; Weight: 150; Height: 5'5"; Hair: Black;
Relationship: Co-Resident
                    Case 3:24-cv-07704-JD                       Document 17-3           Filed 02/03/25           Page 4 of 5
AO 440 (Re . 06/12) S mmons in a Ci il Action (Page 2)

Ci il Action No. 3:24-c -07704

                                                               PROOF OF SERVICE
                          (Th    ec       h    d         be f ed h he c     e e                ed b Fed. R. C . P. 4 ( ))

        This s mmons for (name of indi id al and i le, if an ) Midnight H b as recei ed b me on (da e) 11/08/2024.

                 I personall ser ed the s mmons on the indi id al at (place)                                        on (da e)
                                          ; or
                 I left the s mmons at the indi id al s residence or s al place of abode ith (name)                                          ,a
                 person of s itable age and discretion ho resides there, on (da e)                                         , and mailed a cop to
                 the indi id al s last kno n address; or
          X      I ser ed the s mmons on (name of indi id al) "John Doe" ho ref sed to gi e name , ho is designated b la to
                 accept ser ice of process on behalf of (name of organi a ion) Midnight H b on (da e) T e, No 19 2024 ; or
                 I ret rned the s mmons ne ec ted beca se:                                       ; or
                 Other:                                  ; or

        M fees are $                                     for tra el and $                           for ser ices, for a total of $ $0.00.

        I declare nder penalt of perj r that this information is tr e.


Date: 12/5/2024



                                                                                                    Ser er's signa re
                                                                            Mahesh Bhagat
                                                                                                  Prin ed name and i le


                                                                            507 Polk St S ite 320,, San Francisco, CA 94102
                                                                                                        Ser er's address

Additional information regarding attempted ser ice, etc.:
1) Attempt: No 19, 2024, 8:44 pm EST at 1031 Cherr A en e Unit 44, San Br no, CA 94066 recei ed b "John Doe" ho
ref sed to gi e name. Age: 56; Ethnicit : Filipino; Gender: Male; Weight: 150; Height: 5'5"; Hair: Black
                    Case 3:24-cv-07704-JD                       Document 17-3           Filed 02/03/25           Page 5 of 5
AO 440 (Re . 06/12) S mmons in a Ci il Action (Page 2)

Ci il Action No. 3:24-c -07704

                                                               PROOF OF SERVICE
                          (Th    ec       h    d         be f ed h he c     e e                ed b Fed. R. C . P. 4 ( ))

        This s mmons for (name of indi id al and i le, if an ) Rooms.t                 as recei ed b me on (da e) 11/08/2024.

                 I personall ser ed the s mmons on the indi id al at (place)                                        on (da e)
                                          ; or
                 I left the s mmons at the indi id al s residence or s al place of abode ith (name)                                          ,a
                 person of s itable age and discretion ho resides there, on (da e)                                         , and mailed a cop to
                 the indi id al s last kno n address; or
          X      I ser ed the s mmons on (name of indi id al) "John Doe" ho ref sed to gi e name , ho is designated b la to
                 accept ser ice of process on behalf of (name of organi a ion) Rooms.t on (da e) T e, No 19 2024 ; or
                 I ret rned the s mmons ne ec ted beca se:                                       ; or
                 Other:                                  ; or

        M fees are $                                     for tra el and $                           for ser ices, for a total of $ $0.00.

        I declare nder penalt of perj r that this information is tr e.


Date: 12/5/2024



                                                                                                    Ser er's signa re
                                                                            Mahesh Bhagat
                                                                                                  Prin ed name and i le


                                                                            507 Polk St S ite 320,, San Francisco, CA 94102
                                                                                                        Ser er's address

Additional information regarding attempted ser ice, etc.:
1) Attempt: No 19, 2024, 8:44 pm EST at 1031 Cherr A en e Unit 44, San Br no, CA 94066 recei ed b "John Doe" ho
ref sed to gi e name. Age: 56; Ethnicit : Filipino; Gender: Male; Weight: 150; Height: 5'5"; Hair: Black;
